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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


SASHA DIGIULIAN, et al.,                          :
                                                  :
       Petitioners,                               :
                                                  :
       v.                                         :      Misc. Action No.:      19-132 (RC)
                                                  :
SIBLEY MEMORIAL HOSPITAL, et al.,                 :
                                                  :
       Respondents.                               :

                                              ORDER

  REFERRING CASE TO UNITED STATES MAGISTRATE JUDGE FOR FULL CASE MANAGEMENT

       The above-captioned case being related to Digiulian v. Digiulian, No. 17-mc-3327, it is

hereby referred to United States Magistrate Judge Robin M. Meriweather for full case

management. Pursuant to Local Civil Rule 72.2, Magistrate Judge Meriweather will determine

any motion or matter that arises in this case except for those motions and petitions specified in

Local Civil Rule 72.3(a). Magistrate Judge Meriweather will submit a report and a

recommendation for the disposition of any motion or petition, including any dispositive motion

or petition, specified in Local Civil Rule 72.3(a).

       SO ORDERED.


Dated: August 20, 2019                                             RUDOLPH CONTRERAS
                                                                   United States District Judge
